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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00071 JAM
12                                Plaintiff,             ORDER DISMISSING WITHOUT PREJUDICE
                                                         AND EXCLUDING TIME UNDER THE SPEEDY
13                         v.                            TRIAL ACT
14   JOSE E. RODRIGUEZ, JR.,
15                               Defendant.
16

17                                                   ORDER

18          The Court has reviewed the deferred prosecution agreement between the parties, and the parties’

19 related motions and stipulated requests. In light of the written deferred prosecution agreement, and for

20 the reasons stated in the stipulation filed by the parties, the Court HEREBY FINDS AND ORDERS as

21 follows:

22              1. The charge against defendant in Count 1 of the indictment, for Conspiracy to Defraud

23                  the United States in violation of 18 U.S.C. § 371, is hereby dismissed only as to

24                  defendant Jose E. Rodriguez, Jr. without prejudice, pursuant to the government’s motion

25                  and Federal Rule of Criminal Procedure 48(a);

26              2. The trial date set for June 24, 2019, is hereby vacated. All related filing dates for

27                  motions in limine and trial documents are likewise vacated.

28              3. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et


      [PROPOSED] ORDER                                   1
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 1                seq., within which trial must commence, the time period of May 29, 2019, through May

 2                28, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(2) [Local

 3                Code L] because this is a “period of delay during which prosecution is deferred by the

 4                attorney for the Government pursuant to a written agreement with the defendant … for

 5                the purpose of allowing the defendant to demonstrate his good conduct.” 18 U.S.C.

 6                § 3161(h)(2).

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 8        IT IS SO ORDERED this 30th day of May, 2019.

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                                                     /s/ John A. Mendez
10                                                 THE HONORABLE JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
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     [PROPOSED] ORDER                                 2
